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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     April 29, 2020

BY ECF

The Honorable Edgardo Ramos
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007


       Re:     United States v. Louis Martin Blazer, a/k/a “Marty,” 17 Cr. 563 (ER)

Dear Judge Ramos:

       On February 6, 2020, Your Honor sentenced the above-captioned defendant to time
served and made clear your intention to impose an order of restitution. Attached, please find a
proposed order of restitution.


                                             Respectfully submitted,

                                             GEOFFREY S. BERMAN
                                             United States Attorney

                                     By:
                                             ______________________________
                                             Robert L. Boone
                                             Noah Solowiejczyk
                                             Eli J. Mark
                                             Assistant United States Attorneys
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cc: Defense counsel (by ECF)
